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--------------- Original Message ---------------
From:
Sent: 1/19/2024 6:05 AM
To: certification@legitscript.com
Subject: RE: Help with Category of application




From: Certification <certification@legitscript.com>
Sent: Friday, January 19, 2024 1:12 AM
To:
Subject: Help with Category of application

Hey

Thanks for reaching out.

All telemedicine providers are correctly placed into Category C.

Please let me know if you have any further questions!


LegitScript Certification


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ref:!00D1I02xHJE.!5008W01Hhl76:ref



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